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             IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF TEXAS
                       DALLAS DIVISION


RYAN LLC,
                                       Civil Action No. 3:24-CV-00986-E
                 Plaintiff,
                                       Hon. Ada Brown
v.

FEDERAL TRADE COMMISSION,

                 Defendant.



                 BRIEF AMICUS CURIAE OF
     THE NATIONAL ASSOCIATION OF MANUFACTURERS
IN SUPPORT OF PLAINTIFF’S AND INTERVENORS’ MOTIONS FOR
           STAY AND PRELIMINARY INJUNCTION


 Erica T. Klenicki                 Richard D. Salgado (Bar No. 24060548)
 Michael A. Tilghman II            MCDERMOTT WILL & EMERY LLP
 NAM LEGAL CENTER                  2501 North Harwood Street, Suite 1900
 733 10th Street NW, Suite 700     Dallas, TX 75201
 Washington, DC 20001              (214) 295-8000
 (202) 637-3000                    richard.salgado@mwe.com

                                   Paul W. Hughes (pro hac vice to be filed)
                                   Andrew A. Lyons-Berg (pro hac vice to
                                   be filed)
                                   MCDERMOTT WILL & EMERY LLP
                                   500 North Capitol Street NW
                                   Washington, DC 20006
                                   (202) 756-8000
                                   phughes@mwe.com

                          Counsel for Amicus Curiae
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      INTRODUCTION AND INTEREST OF THE AMICUS CURIAE

      The National Association of Manufacturers (NAM) is the largest

manufacturing association in the United States, representing small and large

manufacturers in all 50 states and in every industrial sector. Manufacturing employs

nearly 13 million men and women, contributes $2.85 trillion to the economy

annually, has the largest economic impact of any major sector, and accounts for over

half of all private-sector research and development in the nation, fostering the

innovation that is vital for this economic ecosystem to thrive.

      Manufacturing’s massive investment in research and development (R&D)—

to the tune $361.2 billion in 2022 (see NAM, Facts About Manufacturing,

perma.cc/2PE9-8DVU)—is only possible because of intellectual property

protections that assure manufacturers they can earn a return on their efforts at

innovation. Among these essential intellectual property protections are protections

for trade secrets and other proprietary and confidential information. See NAM, NAM

Policy Positions (Sept. 21, 2022), perma.cc/C5TG-KBV4.

      Non-compete agreements are a key instrument that manufacturers have long

used to protect their trade secrets and confidential business information. According

to a recent NAM survey, close to 87% of respondents use contractual tools such as

non-compete, non-disclosure, or non-solicitation agreements, with around 70%

stating that they use non-compete agreements. See NAM Comment, Dkt. FTC-2023-


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0007-20939, at 2. Manufacturers enter non-compete agreements selectively,

targeting the tool to cover employees with highly specialized skillsets and/or

knowledge of confidential, proprietary or strategically important technical and

business information, such as senior managers, engineers, and sales personnel.

Manufacturers typically craft their non-compete agreements on an individualized,

case-by-case basis, shaped by an employee’s role within the company and his or her

unique knowledge, expertise or training.

      Yet, in January 2023, the Federal Trade Commission (FTC) proposed an

across-the-board rule that would flatly ban employers, as an unfair method of

competition prohibited under Section 5 of the Federal Trade Commission Act

(FTCA), from entering into a non-compete clause with a worker, and would also

retroactively invalidate any existing non-compete agreements. Non-Compete Clause

Rule, 88 Fed. Reg. 3,482, 3,482-3,483 (Jan. 19, 2023). After receiving more than

26,000 public comments, the FTC promulgated a final rule finalizing the

comprehensive non-compete ban, with only two limited exceptions (for the sale of

a business and for existing non-compete agreements with senior executives). Non-

Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024) (Final Rule).

      The FTC’s sweeping ban on non-compete agreements threatens to hamstring

innovation in the manufacturing sector and damage the competitiveness of American

industry. Faced with impaired incentives to invest in innovation, manufacturers and

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other businesses will retrench their R&D efforts. And without effective legal

protections for their trade secrets and other proprietary information, manufacturers

will dramatically shift toward suboptimal and inefficient operational practices and

procedures, including “self-help” measures to guard against misappropriation by

departing employees.

      The NAM files this brief in hopes of averting these harmful outcomes. In

particular, the NAM fully agrees with Plaintiffs that the FTC lacks lawful statutory

authority to promulgate the Final Rule. See Pls. Mot. for Stay 13-24. We write

separately to emphasize another legal failing: The tools cited by the FTC as sufficient

alternatives to non-competes in protecting companies’ proprietary information—

trade secret misappropriation litigation and non-disclosure agreements (NDAs)—

are in fact not sufficient substitutes at all, and the agency’s reasoning on this point,

and responses to the many comments raising these concerns, is unreasoned and

irrational. The Final Rule is therefore arbitrary and capricious, and must be set aside

for this reason, too.

                                    ARGUMENT

I.    Non-compete agreements serve innovation by protecting trade secrets.
      Manufacturers use non-compete agreements as an essential tool to protect

their trade secrets and other proprietary information from misappropriation by their

competitors. The Final Rule’s comprehensive ban on non-compete clauses going


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forward will decimate manufacturers’ ability to effectively safeguard their trade

secrets from misappropriation by rival businesses, with predictably dire impacts on

innovation and competitiveness in the manufacturing sector. While the FTC suggests

that there are alternative tools that businesses can use to protect their proprietary

information, such as NDAs and trade secret misappropriation lawsuits, these are

poor substitutes for non-compete agreements. The Final Rule’s expansive

“functional” definition of non-compete clauses further limits the effectiveness of

NDAs in protecting manufacturers’ trade secrets.

      a.     Effective protection for confidential and proprietary information
             is essential to innovation.
      As the NAM explained in its comment letter, effective protection for trade

secrets and other proprietary business information is critical to maintaining

incentives for manufacturers and other companies to make capital-intensive

investments in R&D that ultimately power innovation and American economic

competitiveness. See NAM Comment, Dkt. FTC-2023-0007-20939, at 3-4, 11.

Indeed, “[i]n the private sector, trade secrets are fundamental building blocks that

drive investment, innovation, and economic growth.” Pamela Passman et al.,

Economic Impact of Trade Secret Theft, PricewaterhouseCoopers LLP 2 (Feb.

2014); see NAM Comment, supra, at 3 n.6 (citing Passman et al.).

      A huge range of confidential business information critical to the success of a

manufacturer can form the subject matter of a trade secret, including a “formula for
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a chemical compound, a process of manufacturing, treating, or preserving materials,

a pattern for a machine or other device, or a list of customers.” Kewanee Oil Co. v.

Bicron Corp., 416 U.S. 470, 475 (1974) (quoting Restatement of Torts § 757, cmt.

b (1939)). And, as the Supreme Court has acknowledged, effective protection of this

valuable proprietary information is critical to the “encouragement of invention”

through the “subsidization of research and development.” Id. at 481-482. Without

such protections, a business that invests in R&D or other innovative efforts to

produce economically valuable information has no recourse against a competitor

“who by unfair means, or as the beneficiary of a broken faith, obtains the desired

knowledge without himself paying the price in labor, money, or machines expended

by the discover[er].” Id. at 482 (quoting A.O. Smith Corp. v. Petroleum Iron Works

Co. of Ohio, 73 F.2d 531, 539 (6th Cir. 1934)).

      Effective trade secret protections also foster innovation by creating the

conditions for businesses to efficiently exploit knowledge in their processes and

operations. Absent effective legal protections for economically valuable confidential

information, there would be “an increase in the amount of self-help that innovative

companies would employ.” Kewanee, 416 U.S. at 485-486. If businesses cannot rely

on effective legal protection of their trade secrets, they will engage in “unproductive

hoarding of useful information,” minimizing “disclosure to employees, agents,

licensees, and others who can assist in its productive use.” Restatement (Third) of

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Unfair Competition § 39 cmt. A (1995); see also Wexler v. Greenberg, 160 A.2d

430, 435 (Pa. 1960) (“[T]he optimum amount of ‘entrusting’ [with economically

valuable information] will not occur unless the risk of loss to the businessman

through a breach of trust can be held to a minimum.”). The net result of this

unproductive investment in precautions against disclosure would be that “organized

scientific and technological research could become fragmented, and society, as a

whole, would suffer.” Kewanee, 416 U.S. at 486.

      Indeed, even without further restrictions on companies’ ability to protect their

proprietary information, trade secret theft is a large and mounting problem. A 2014

study “estimated that the cost of trade secret misappropriation ranged from one to

three percent of the U.S. Gross Domestic Product, potentially costing U.S.

companies hundreds of billions per year.” NAM Comment, Dkt. FTC-2023-0007-

20939, at 3 (citing Passman et al., supra). And, 85% of these trade secret thefts are

committed either by employees leaving for competitors, or by business partners. Id.

(citing Pamela Passman, Eight Steps to Secure Trade Secrets, World Intellectual

Property Org. (Feb. 2016), perma.cc/VVF2-V2JQ). These enormous losses even

under the status quo make it all the more crucial that reasonable tools currently

available to companies to protect their confidential information not be further

curtailed.




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      b.     Non-compete agreements are necessary protections for trade
             secrets.

      For multiple reasons, non-compete agreements are essential to safeguarding

the value of the confidential commercial information produced by innovation in the

manufacturing sector, which drives the creation of life-saving medications, critical

machinery for the national defense, microprocessors that power every aspect of

modern life, and other new products that enhance the economy.

      First, because trade secrets are—by their very nature—secret, it is often not

possible to know whether or when a competitor has used a trade secret. For example,

if a competitor hires an employee who designed critical elements of a new

production facility from a close rival, the employee’s company has no ready way to

understand whether that individual is sharing confidential information with the new

employer. That is, the existence and use of the misappropriated trade secrets is likely

to be kept secret at the misappropriating company as well. See, e.g., Intellectual

Property Owners Ass’n Comment, Dkt. FTC-2023-0007-19431 at 3; see also id.

(“This often leaves a wronged trade secret owner without a remedy, as mere

suspicion of trade secret misappropriation is not enough of a basis to justify bringing

a lawsuit.”). The FTC’s insistence that trade secret lawsuits suffice (89 Fed. Reg. at

38,426) thus fails as an initial practical matter because it incorrectly assumes that

competitors have full knowledge of processes used in their rivals’ facilities.



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      Second, while trade secrets enjoy legal protection, they “do not enjoy the

absolute monopoly protection afforded patented processes.” Chi. Lock Co. v.

Fanberg, 676 F.2d 400, 404 (9th Cir. 1982). The law at both state and federal levels

provides a cause of action only for “misappropriation” of trade secrets. See 18 U.S.C.

§ 1836(b)(1), (d); UTSA §§ 2(a), 3. Misappropriation requires the acquisition, use,

or disclosure of a trade secret by “improper means,” such as the breach or

inducement of a breach of duty to maintain secrecy. 18 U.S.C. § 1839(5), (6); UTSA

§ 1(1), (2). This can be, as a functional matter, difficult to prove. A defendant may

claim that it acquired knowledge of the trade secret through proper means, including

discovery by independent invention or by “reverse engineering.” See 18 U.S.C.

§ 1839(6)(B); UTSA § 1 cmt.; Mallet & Co. Inc. v. Lacayo, 16 F.4th 364, 387 n.31

(3d Cir. 2021) (“[R]everse engineering is a defense to misappropriation of [a] trade

secrets claim.”). Because the trade secret is “protected only so long as competitors

fail to duplicate it by legitimate, independent research” (Cataphote Corp. v. Hudson,

422 F.2d 1290, 1293 (5th Cir. 1970)), these rights provide limited protections for

critical intellectual property even if there is malfeasance, so long as the owner of the

trade secret cannot prove it.

      Third, trade secret litigation is costly and slow. One recent survey found that

the median cost of litigating a trade secret case is $7.4 million when over $25 million

is in controversy. See, e.g., Gibson Dunn Comment, Dkt. FTC-2023-0007-21072, at

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8 n.17 (citing Am. Intell. Prop. L. Ass’n, 2019 Report of the Economic Survey 68

(2019)); see also Thomson Reuters Legal, Trade Secret Litigation 101 (Nov. 23,

2022), perma.cc/MU2W-S84N. And such cases generally take several years to

resolve, further diminishing their utility in alleviating immediate harm to affected

businesses. See Stout, Trends in Trade Secret Litigation Report 2020 40 (2020),

perma.cc/Y6GC-YDV4 (noting a mean time to resolution of nearly 4 years for

federal trade secret actions filed in 2015, the most recent year of data); see also

Comment of Lee Moore, Dkt. FTC-2023-0007-20909, at 5 & n.12 (citing the Stout

report). And, in only about one-third of lawsuits are trade secret owners able to

successfully obtain preliminary injunctive relief—meaning that harm is often

irreversible, regardless of the ultimate result. See David S. Almeling et al., A

Statistical Analysis of Trade Secret Litigation in Federal Courts, 45 Gonz. L. Rev.

291, 316 tbl. 14 (2010); Comment of Lee Moore, supra, at 4 & n.6 (citing the

Almeling study).

      Because of these practical shortcomings in the protection provided by trade

secret misappropriation litigation, businesses often resort to non-compete

agreements to ensure that their trade secrets are effectively secured from

misappropriation resulting from employees’ departure to work for a competitor. This

is no irrational fear: As noted, in 85 percent of trade secret misappropriation lawsuits

in the United States, the alleged misappropriator was either a former employee or

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business partner. Passman, supra; see NAM Comment, Dkt. FTC-2023-0007-20939,

at 3.

        Instead of waiting to detect uses of their trade secrets by competitors who have

hired away their former employees and then bringing an action ex post for

misappropriation of trade secrets, businesses must be allowed to bargain with their

employees to enter non-compete agreements—at the very least, with individuals

who have special exposure to their trade secrets and other commercially valuable

proprietary information. Because of their critical importance, the Final Rule’s

sweeping ban on non-compete agreements will fundamentally erode effective legal

protections for trade secrets. And given the essential role that trade secrecy plays in

incentivizing innovation and creating the conditions for the productive deployment

of information within firms, the Final Rule threatens to damage innovation and

dynamism within American industry.

        c.    NDAs are insufficient as a substitute for non-compete agreements.
        The FTC does no better in suggesting (89 Fed. Reg. at 38,371-72) that non-

disclosure agreements provide sufficient protection for trade secret and other

confidential information. To start with, NDAs share many of the same limitations of

trade secret protection—there is no ready way to determine if the agreement has been

breached, competitors may claim that they have independently obtained the

information, and litigation is slow and expensive.


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      But there is yet a more fundamental problem with the FTC’s assertion that

NDAs will provide adequate safeguards for information: The Final Rule’s

“functional” definition of non-compete clauses will deem many—if not most—

NDAs to be non-compete clauses, thus barring them wholesale. Under the Final

Rule, a non-compete clause is defined as a term or condition of employment that

“prohibits” a worker from, or “penalizes” a worker for, or “functions to prevent” a

worker from, subsequently seeking or accepting work with a different employer. 89

Fed. Reg. at 38,502. As the FTC itself clarifies, this “functions to prevent” language

means that, if a term or condition of employment is “so broad or onerous that it has

the same functional effect as a term or condition prohibiting or penalizing a worker

from seeking or accepting other work or starting a business after their employment

ends,” then it is a non-compete clause for purposes of the Final Rule. Id. at 38,364.

      For non-disclosure agreements to be effective, however, they are often viewed

as restricting former employees from working in particular roles for competing

businesses. Courts in at least 17 states have recognized this by adopting the so-called

“inevitable disclosure” doctrine. See Phoseon Tech., Inc. v. Heathcote, 2019 WL

7282497, at *11, *11 n.8 (D. Or. Dec. 27, 2019) (collecting cases). In the pivotal

“inevitable disclosure” case, PepsiCo, Inc. sought—and the district court granted—

a preliminary injunction to prevent the defendant, a former management employee,

from starting work with his new employer, the Quaker Oats Company, which

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directly competed with PepsiCo in the sports drinks market. PepsiCo, Inc. v.

Redmond, 54 F.3d 1262, 1263-1264 (7th Cir. 1995). Concluding that the defendant’s

new employment would “inevitably lead him to rely on the plaintiff’s trade secrets,”

in breach of the NDA he had entered into with PepsiCo, the Seventh Circuit affirmed

the district court’s entry of the preliminary injunction, even absent any non-compete

agreement between the defendant and PepsiCo. Id. at 1269. Given the specific nature

of the defendant’s new job at Quaker Oats, unless he “possessed an uncanny ability

to compartmentalize information, he would necessarily be making decisions [in his

new employment] by relying on his knowledge of [his former employer’s] trade

secrets.” Id.

       Following PepsiCo, courts across the United States have developed this

“inevitable disclosure” doctrine as a basis to bar defendants from working in a new

position where doing so will inevitably disclose the former employer’s trade secrets.

See, e.g., Flatiron Health, Inc. v. Carson, 2020 WL 1320867, at *26 (S.D.N.Y. Mar.

20, 2020) (quoting Int’l Bus. Machines Corp. v. Papermaster, 2008 WL 4974508,

at *7 (S.D.N.Y. Nov. 21, 2008). Courts have emphasized that, under certain

circumstances, it is necessary to prevent a trade secret owner’s former employee

from working in a new position altogether, rather than to remedy any

misappropriation ex post, because “the harm to the [trade secret owner] cannot be

avoided simply by the former employee’s intention not to disclose confidential

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information, or even by his scrupulous efforts to avoid disclosure.” Cynosure LLC

v. Reveal Lasers LLC, 2022 WL 18033055, at *12 (D. Mass. Nov. 9, 2022) (quoting

Marcam Corp. v. Orchard, 885 F. Supp. 294, 297 (D. Mass. 1995). When a departing

employee goes to work for a competitor, “he does not go with tabula rasa with

respect to [the trade secret owner’s] products, its development strategies, its

marketing plans, its customers and other significant business information.” As such,

it is inconceivable “how all of the information stored in [the former employee’s]

memory can be set aside as he applies himself to a competitor’s business and its

products.” Id. (quoting Marcam, 885 F. Supp. at 297).

      As the “inevitable disclosure” doctrine recognizes, an NDA is effective only

if it precludes a departing employee from working in specific positions for key

competitors. By defining non-compete clauses to include so-called “functional” non-

competes (see 89 Fed. Reg. at 38,362), the Final Rule thus precludes this use of an

NDA, stripping away a tool essential to the protection of trade secrecy and other

proprietary information.

II.   The FTC arbitrarily and capriciously disregarded these concerns.

      All of this was presented to the FTC during the notice and comment process—

yet the agency brushed these concerns aside with unreasoned ipse dixit, and what

little analysis it did provide is seriously flawed. These failings render the Final Rule

arbitrary and capricious under the APA.


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      “The APA’s arbitrary-and-capricious standard requires that agency action be

reasonable and reasonably explained.” Data Mktg. P’ship, LP v. U.S. Dep’t of Labor,

45 F.4th 846, 855 (5th Cir. 2022) (quoting FCC v. Prometheus Radio Project, 592

U.S. 414, 423 (2021)); see also id. (“[W]e must ensure that the agency … has

reasonably considered the relevant issues and reasonably explained the decision.”)

(quotation marks omitted). And while courts “must not substitute [their] own policy

judgment for that of the agency,” APA “review is not toothless.” Id. at 855-856

(quotation marks omitted). To the contrary, “after Regents, it has serious bite.” Id. at

856; see DHS v. Regents of Univ. of Cal., 591 U.S. 1 (2020).

      In particular, the arbitrary-and-capricious standard “requires the agency to

consider all relevant factors raised by the public comments and provide a response

to significant points within.” Chamber of Commerce of U.S. v. SEC, 85 F.4th 760,

774 (5th Cir. 2023). And simply “[n]odding to concerns raised by commenters only

to dismiss them in a conclusory manner” is not sufficient. Texas v. Biden, 10 F.4th

538, 556 (5th Cir. 2021) (quoting Gresham v. Azar, 950 F.3d 93, 103 (D.C. Cir.

2020)).

      Here, commenter after commenter, including the NAM, explained that NDA

and trade secret misappropriation litigation are insufficient to protect companies’

investments in their intellectual property and confidential business information:

These tools are costly, difficult to prove, and time-consuming to litigate; they cover

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only certain types of information; and, critically, they function only retrospectively,

attempting to compensate for detected and completed wrongdoing rather than

preventing it in the first place. See, e.g., NAM Comment, Dkt. FTC-2023-0007-

20939, at 4; U.S. Chamber of Commerce Comment, Dkt. FTC-2023-0007-19345, at

30-32; Gibson Dunn Comment, Dkt. FTC-2023-0007-21072, at 7-9; Intellectual

Property Owners Ass’n Comment, Dkt. FTC-2023-0007-19431, at 3-4; National

Restaurant Ass’n Comment, Dkt. FTC-2023-0007-18276, at 4. Indeed, the Small

Business Administration Office of Advocacy explained that these litigation

alternatives “often involve[] protracted proceedings and astronomical legal fees

which small entities may not be able to afford,” and opposed an across-the-board

ban. SBA Comment, Dkt. FTC-2023-0007-21110, at 3-4.

      The FTC, however, failed to meaningfully respond. It recounted commenters’

concerns that these alternative tools are not effective on their own, but then

dismissed them with a single conclusory statement: “[t]hat employers prefer to wield

non-competes as a blunt instrument on top of or in lieu of the specific legal tools

designed to protect legitimate investments in intellectual property and other

investments cannot justify an unfair method of competition.” Final Rule, 89 Fed.

Reg. at 38,427; see also id. at 38,428 (same, with respect to concerns that trade secret

litigation is expensive and difficult to prosecute). But the entire point is that these

“specific legal tools” are not sufficient on their own to protect proprietary

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information and incentivize innovation—a concern that the FTC did not seriously

address. By merely “[n]odding to” commenters’ concerns on this critical issue “only

to dismiss them in a conclusory manner,” the FTC acted arbitrarily and capriciously,

and its action must be set aside. Texas, 10 F.4th at 556 (quoting Gresham, 950 F.3d

at 103).

      Nor is there any substance to the FTC’s repeated contention that, because

trade secret misappropriation litigation is widespread, it must be sufficient on its

own to protect companies’ proprietary information, and that other tools commonly

used to do so—like non-competes—are therefore unnecessary. See, e.g., Final Rule,

89 Fed. Reg. at 38,425. The agency’s conclusion simply does not follow from the

premise; indeed, the same reasoning would hold that, because lots of people wear

raincoats when it rains, umbrellas are unnecessary and can be banned with no

negative consequences. In other words, the FTC has failed to “articulate … a

‘rational connection between the facts found and the choice made’”—an

independent APA violation. BNSF Railway Co. v. Fed. Railroad Admin., 62 F.4th

905, 910 (5th Cir. 2023) (quoting Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

      As for NDAs, many commenters also pointed out the irrationality of basing

the decision to ban non-competes, in part, on the availability of NDAs as a

purportedly adequate substitute for non-compete agreements, yet turning around and

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banning many NDAs too, as functional non-competes. See, e.g., U.S. Chamber of

Commerce Comment, Dkt. FTC-2023-0007-19345, at 31-32; Gibson Dunn

Comment, Dkt. FTC-2023-0007-21072, at 8-9. The FTC’s only response is that its

rule “will not prevent employers from adopting garden-variety NDAs; rather, it

prohibits only NDAs that are so overbroad as to function to prevent a worker from

seeking or accepting employment or operating a business.” Final Rule, 89 Fed. Reg.

at 38,426; see also id. at 38,362 (listing “an NDA … written so broadly that it

effectively precludes the worker from working in the same field after the conclusion

of the worker’s employment” as an “example” of an impermissible “functional non-

compete[]”).

      But as discussed above, in the many States where it applies, the inevitable-

disclosure doctrine often does prohibit employees who have signed an NDA and

have been exposed to trade secrets from accepting new work, based on the common-

sense principle that unless an employee “possesse[s] an uncanny ability to

compartmentalize information,” he or she will “necessarily be making decisions [in

his new employment] by relying on … knowledge of [the former employer’s] trade

secrets.” PepsiCo, 54 F.3d at 1269; see pages 11-13, supra. Thus, contrary to the

FTC’s explanation (89 Fed. Reg. at 38,365), the agency’s non-compete ban likely

does reach NDAs beyond just those that are facially overbroad on their face. And

this fact renders entirely arbitrary the FTC’s separate citation (89 Fed. Reg. at

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38,427) of the inevitable disclosure doctrine as an available tool for companies that

will mitigate the harmful effects of the non-compete ban. Once again, the agency is

justifying its ban based on the availability of alternatives with one hand, while

banning those very same alternatives with the other. It is hard to see what could be

more arbitrary and capricious.

      In sum, because the Final Rule makes clear that the FTC has not “reasonably

considered the relevant issues and reasonably explained the decision” with respect

to the insufficiency of NDAs and trade secret misappropriation litigation, alone, to

protect companies’ valuable, investment-backed proprietary information, its action

cannot stand. Data Mktg. P’ship, 45 F.4th at 855 (quotation marks omitted). Thus,

not only did the FTC lack statutory authority to promulgate the Final Rule in the first

place (see Pls. Mot. 13-24), it is also unlawful, and must be set aside, because the

FTC arbitrarily and capriciously failed to reasonably consider the ineffectiveness of

the alternative means it touted as sufficient replacements for non-compete

agreements. See also Intervenors’ Mot. 25-30. Plaintiffs and Intervenors are thus

likely to succeed on the merits of their claims, and their motions should be granted.

                                  CONCLUSION
      The Final Rule is unlawful and, if it goes into effect, will inflict serious harm

on innovation in American industry. The Court should grant Plaintiffs’ and

Intervenors’ motions requesting a stay and a preliminary injunction.


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Dated: May 14, 2024                 Respectfully submitted,
                                    /s/ Richard D. Salgado
Erica T. Klenicki                   Richard D. Salgado (Bar No. 24060548)
Michael A. Tilghman II              MCDERMOTT WILL & EMERY LLP
NAM LEGAL CENTER                    2501 North Harwood Street, Suite 1900
733 10th Street NW, Suite 700       Dallas, TX 75201
Washington, DC 20001                (214) 295-8000
(202) 637-3000                      richard.salgado@mwe.com

                                    Paul W. Hughes (pro hac vice to be filed)
                                    Andrew A. Lyons-Berg (pro hac vice to
                                    be filed)
                                    MCDERMOTT WILL & EMERY LLP
                                    500 North Capitol Street NW
                                    Washington, DC 20006
                                    (202) 756-8000
                                    phughes@mwe.com

                         Counsel for Amicus Curiae




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      1. This document complies with the type-volume requirements of Judge

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Dated: May 14, 2024                  /s/ Richard D. Salgado
                                     Richard D. Salgado
                                     MCDERMOTT WILL & EMERY LLP
                                     2501 North Harwood Street Suite 1900
                                     Dallas, TX 75201-1664
                                     Telephone: (214) 210-2797
                                     Email: richard.salgado@mwe.com




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on May 14, 2023, I caused the foregoing document to be

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Dated: May 14, 2024                   /s/ Richard D. Salgado
                                      Richard D. Salgado
                                      MCDERMOTT WILL & EMERY LLP
                                      2501 North Harwood Street Suite 1900
                                      Dallas, TX 75201-1664
                                      Telephone: (214) 210-2797
                                      Email: richard.salgado@mwe.com




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